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    .",AO 245B (CASD) (Rev. 4(14)   Judgment in a Criminal Case
                Sheet 1
                                                                                                                                           \- \LED
                                              UNITED STATES DISTRICT COURT
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                                                  SOUTHERN DISTRICT OF CALIFORNIA                                                  " \Jirt'rl"" ..,,0"w fCf·i   l-UFO$A

                     UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE QCPVtY
                                        v.                                                 (for Offenses Committed On or After N(tyember I. 1987)

                          Aaron Dwayne Pittman -I                                          Case Number: 13-cr-04SIO-JAH-I

                                                                                           Anthony Edward Colombo Jr
                                                                                           Defendant's Attorney
    REGlSTRATIOl\' NO. 41282298
    \?9 Modification oflmposed Term oflmprisonment for Compelling Reasons (18 U,S.c. § 3582(c)(I))
    THE DEFENDANT:
    \?9 pleaded guilty to count(s) One of the Superseding Indictment.

    o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                 Count
    Title & Section                          Nature of Offense                                                                                  Number(s)
18:I962(d); 18:1963,                   Conspiracy to Conduct Enterprise Affairs Through A Pattern of Racketeering Activit) I
IS94(d) and 2428(a)




        The defendant is sentenced as provided in pages 2 through                 S                of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on eount(s)
                                                             ----------------------------------------------
 \?9 Count(S)_r_em_a_in_i_ng=:.-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                           0       are\?9 dismissed on the motion ofthe United States,

 181 Assessment: $100.00.


 I25J No fine                                       o    Forfeiture pursuant to order filed
                                                                                                         ----------------- , included herein.
       IT IS ORDERED that the defendant shall notify the Cnited States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution . costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               Au~st IS, 2016
                                                                               Dale/Imposition ofS~ntence \
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                                                                               UNITED STATES DISTRICT mOGE

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                                                                                      'J
                                                                                                                                                13-cr-04S10-JAH-l
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AO 2458 (CASD) (Rev. 4i14) Judgment in a Crimmal Case
           Sheet 2   Impri,onment

                                                                                                                    2_ of
                                                                                                  Judgment - Page _ _                    5
 DEFENDANT: Aaron Dwayne Pittman -1
 CASE NUMBER: 13-cr-04S10..JAH-l
                                                        IMPRISONMENT
        The defendant is hereby committed to the eustody of the United States Bureau of Prisons to be imprisoned for a term of
         One hundred and thirty-two months. Defendant shall receive credit oftive months and twenty-two days spent in State
         custody in case SeD 249960 before the Writ was executed m this case.


    o Sentence imposed pursuant to Title USC Section
                                                8            \326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the Residential Drug Abuse Program and that custody be served in Southern California.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           [Jat _______________ [Ja.m.                     [Jp.m.       on
               as notified by the United States Marshal.

    [J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          [J betore
                      --------------------------------------------------------------
          [J as notified by the United States MarshaL
          o as notified by the Probation or Pretrial Services Offiee.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL

                                                                    By
                                                                         ------------D~E~p~l~rr~Y~U~N~T~rE~_D-s~T-A~T-ES--M-A-R~SH-A-L------------




                                                                                                                         13-cr-04S10-JAH-l
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AO 2458 (CASD) tRev.4114) Judgment in a Cnminal Case
               Sheet 3   Supervised Release
                                                                                                               Judgment-~~Page   __3__ of _ _5=--_ _
DEFENDANT: Aaron Dwayne Pittman
CASE NUMBER: 13-cr-04510..JAH-I
                                                           SUPERVISED RELEASE
Upon release from imprisonment. the defendant shall be on supervised release for II term of:
three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refr-din from any unlawful use of a control1ed
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a){7) and 3583(d).
        The defendant shall comply with ttie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 1690 I. et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convieted ofa qualifying offense. (Check if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instruetions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any ehange in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's eomplianee with such notification requirement.

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